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                                                                    September 13, 2022

The Honorable Hector Gonzalez
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

                                      Re: United States v. Christopher Gunn, 22-CR-314

Dear Judge Gonzalez:


        On August 19, 2022, the Court issued a protective order, over defense
objection. After the order was issued, the government produced preliminary discovery
to the defense, including the video clip that is the subject of the indictment. (This
video is marked CG 91, and is provided to the Court under separate cover, and under
seal). That video clip was marked “protected” discovery, a designation that prevents
Christopher Gunn from having a copy of the video clip. I am writing to request a
modification of that order with respect to this video as the defense has since learned
that a copy of the same video clip is currently publicly available on the internet. Thus,
everyone with access to the internet can view the “protected” video clip as many
times as they want, while Mr. Gunn (who has no access to the internet) has not yet
seen it. Accordingly, I respectfully request that the Court permit Mr. Gunn to have a
copy of the video clip – the main evidence in his case – so that he can review it at his
home, as often as he would like, in preparation of his defense.
       The internet-version of the video clip is available here, beginning around the
36:30 minute mark: https://youtu.be/VDn1vUOuS2U. This internet-version appears
to be an exact copy of the video clip provided in discovery. The only differences
appear to be written comments that appear as people on the internet watch the video

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play, and verbal comments from the youtube blogger who posted the video. The
reason these video clips appear to be exactly the same is not just the content, but also
that both – the one currently available on the internet, and the one provided in
discovery – have the same pop-up message:




Screen shot from: https://youtu.be/VDn1vUOuS2U
       After learning that the same “protected” video clip was currently on the
internet, I called the government and asked if it would agree to modify the protective
order to allow Mr. Gunn to have a copy of this video clip. The government said no.
The government also stated that the reasons for the protective order had not changed.
The government originally stated there was good cause for a protective order
preventing Mr. Gunn from possessing “protected” discovery because of “personally
identifiable information for witnesses” that “implicate[s] the privacy and safety
concerns of witnesses.” Dkt. 19, p. 4. Given that the same video clip is currently
publicly available, there can be no legitimate “privacy” concern that would be
implicated by Mr. Gunn having the video clip. This Court should find that there is
none.



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      Therefore, I respectfully request that the Court modify the protective order so
that CG 91 is no longer protected discovery and Mr. Gunn can have a copy of it to
review.1
                                                              Respectfully Submitted,
                                                                       /s/
                                                              Allegra Glashausser
                                                              Assistant Federal Defenders




1
 In an abundance of caution, and to ensure compliance with the current protective order, I am filing
this letter under seal as it “discuss[es]” discovery marked “protected.” However, I respectfully
request that the Court unseal this letter, for the same reasons explained above: it relates to a video
clip that is publicly available.


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